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 Counsel for Gregory Greene and Joseph Lack

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                             § Chapter 15
                                                    §
 MtGox Co., Ltd. (a/k/a MtGox KK)                   § Case No. 14-31229-sgj-15
                                                    §
          Debtor in a Foreign Proceeding            §
                                                    §

                 MOTION TO RECONSIDER SETTING FOR HEARING ON
                 CREDITORS GREGORY GREENE AND JOSEPH LACK’S
                 MOTION FOR TERMINATION OF PROVISIONAL RELIEF

          Gregory Greene and Joseph Lack (collectively the “Movants”), by their attorneys,

 Edelson P.C., Honigman Miller Schwartz and Cohn LLP, and Haynes and Boone LLP, file this

 Motion to Reconsider Setting for Hearing on Creditors Gregory Greene and Joseph Lack’s

 Motion for Termination of Provisional Relief and respectfully state as follows:

                        FACTUAL AND PROCEDURAL BACKGROUND

          1.      As this Court is aware, this putative Chapter 15 proceeding concerns the collapse

 of Mt. Gox—at one time one of the world’s largest Bitcoin exchanges. On February 24, 2014 Mt.



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 Gox’s website “went dark,” shutting off exchange member access to member bitcoins and Fiat

 Currency.

            2.      Four days later, on February 28, 2014, Mt. Gox, K.K. (the “Debtor”) through its

 Representative Director, Robert Marie Mark Karpeles (“Karpeles”), commenced an application

 for civil rehabilitation proceedings in Japan. In the process, Karpeles disclosed that Mt. Gox had

 lost approximately 850,000 bitcoins (at the time valued at approximately $470,000,000 USD)

 and that a “large shortfall” of $27,000,000 in currency “was found” in its bank accounts.

 Mt. Gox files a Chapter 15 Petition before this Court

            3.      On March 10, 2014, Karpeles, in his capacity as the foreign representative of the

 Debtor, filed an “emergency” motion commencing the instant Chapter 15 recognition

 proceedings. In the process, the Debtor requested certain provisional injunctive relief pursuant to

 Bankruptcy Code sections 105(a) and 1519 (the “Motion for Provisional Relief”),1 including a

 provisional stay of litigation against the Debtor pending in both the Western District of

 Washington (Coinlab, Inc. v. Mt. Gox KK et al., 1:13-cv-00777) and the Northern District of

 Illinois (Greene et al v. Mt. Gox Inc et al, 1:14-cv-01437).

            4.      The Debtor’s evidence offered in support of the Motion for Provisional Relief

 consisted of a declaration from Karpeles (the “Karpeles Declaration”)2 wherein he testifies that

 exchange member bitcoins were likely lost as the result of a “bug” in the Bitcoin network termed

 “transaction malleability.” Karpeles did not mention the lost $27,000,000 in currency. Rather, he

 indicated that the company had approximately $27 million in assets against $65 million in

 liabilities and that the Court should recognize, through Chapter 15 of the United States

 Bankruptcy Code, the Debtor’s Japanese civil rehabilitation proceeding.

 1
     See Docket No. 4.
 2
     Declaration of Robert Marie Mark Karpeles [Docket No. 3].



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         5.      After considering the arguments of all parties—and over the Movants’

 objections—the Court granted a provisional stay of any litigation against the Debtor. At the same

 time, however, the Court denied the request for provisional relief as against any non-Debtor

 defendants.3

 Movants seek discovery related to the issues underlying the Chapter 15

         6.      Following the entry of the provisional relief, Movants met and conferred with

 counsel for the Debtor regarding discovery related to Chapter 15 considerations, including the

 Debtor’s assets in the United States, the location of such assets, their value, and discovery related

 to the COMI factors. As part of this discovery, Movants made clear that the most important

 discovery would consist of the deposition of Mr. Karpeles, the foreign representative, since he

 appeared to be the only person with knowledge of all the relevant facts and information.

         7.      The Debtor’s counsel suggested that the parties engage in written discovery and,

 on March 14, 2014, suggested during a telephone call that Mr. Karpeles could not travel to the

 United States for the deposition due to cost restrictions. Movants’ counsel thereafter offered to

 pay for the costs of travel to the United States. On March 18, 2014, Debtor’s counsel indicated

 that he had not discussed the offer to pay travel costs with the Debtor. On March 21, 2014,

 during a follow up call, Debtor’s counsel indicated that Mr. Karpeles would make himself

 available to be deposed in Taipei, Taiwan or via video-link.

         8.      Following additional meet and confers, it became apparent that the parties did not

 agree as to the location of the deposition. On March 25, 2014, Movants filed the Creditors

 Gregory Greene and Joseph Lack’s Motion for Termination of Provisional Relief (the “Motion




 3
  Order Granting Application for Provisional Relief, Scheduling Recognition Hearing, and Specifying Form and
 Manner of Notice [Docket No. 13].



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 to Terminate Provisional Relief”)4 as well as a Motion to Compel Deposition Testimony in the

 United States, seeking an order requiring that Mr. Karpeles travel to the United States for his

 deposition.5 The Movants also filed a motion6 requesting that the Court consider the Motion to

 Terminate Provisional Relief at a hearing on April 1, 2014.

 The Court holds a hearing April 1, 2014 and Orders Karpeles to travel to the United States

           9.         At a hearing held on April 1, 2014, following argument by all parties, the Court

 ordered Karpeles to appear for a deposition in Dallas, Texas on April 17, 2014 at the law office

 of Baker & McKenzie (the “Deposition Order”).7

           10.        Additionally, the Court set the Motion to Terminate Provisional Relief for hearing

 on May 6 at 9:30 a.m.

 Following the April 1, 2014 hearing, Movants repeatedly attempt to learn whether Mr.
 Karpeles will be traveling to the United States and receive no answer until April 14, 2014.

           11.        In the two weeks following the April 1, 2014 hearing, Movants’ counsel

 repeatedly asked Debtor’s counsel for a commitment with respect to whether Mr. Karpeles was

 intending on complying with the Court’s Deposition Order. As Movants’ counsel had offered to

 cover the costs of travel, Movants’ counsel requested available travel dates so they could arrange

 Mr. Karpeles’s flight and accommodations, arrange the travel of the attorneys participating in the

 deposition, and arrange for French translation services and a videographer.

           12.        Debtor’s counsel responded that they would make the travel arrangements and

 that they had not heard that Karpeles was not planning on attending. When Movants responded


 4
     Docket No. 37.
 5
     Docket No. 39.
 6
  Motion for Setting and Request for Expedited Hearing on Creditors Gregory Greene and Joseph Lack’s Motion for
 Termination of Provisional Relief [Docket No. 38].
 7
  See Order Granting, With Modifications, the Motions of Creditors Gregory Greene and Joseph Lack for Order
 Compelling Deposition Testimony in the United States from the Foreign Representative [Docket No. 72].



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 thanking Debtor’s counsel for confirming that Karpeles was going to appear for the examination,

 Debtor’s counsel responded that they had not and were not confirming his attendance.

           13.        Movants then supplied Debtor’s counsel with screenshots from several airlines

 showing flight costs to Dallas from Tokyo. Debtor’s counsel responded that given the length of

 such a flight they were going to book Karpeles in “business class.” Debtor’s counsel also

 indicated that Karpeles had received information about a subpoena from the United States

 Treasury Department that would require he travel to Washington D.C. following the deposition

 in Dallas and requested that Movants pay for that travel as well.

           14.        Finally, on April 14, 2014, counsel for the Debtor informed counsel for the

 Movants via email that Karpeles has decided to violate this Court’s Deposition Order and will

 not attend the deposition scheduled for April 17, 2014 in Dallas. Telephone calls to Debtor’s

 counsel from Movants’ counsel were not returned, and emails to Debtor’s counsel by the U.S.

 Trustee have not been responded to.

           15.        At 4:56 p.m. on April 14, 2014, the Debtor filed a motion for continuance of the

 deposition of Karpeles (the “Continuance Motion”)8 alleging that he was subject to a subpoena

 from the Department of the Treasury to appear in Washington, D.C. on April 18, 2014 (the

 “FinCEN Subpoena”) and that Karpeles needs to retain additional counsel to advise him with

 respect to the FinCEN Subpoena.            The Continuance Motion states that the Debtor cannot

 guarantee that Karpeles will appear at the deposition even if it is continued. The Movants intend

 to file a response to the Continuance Motion on April 15, 2014.

           As explained below, given that the provisional stay was entered on March 10, 2014 based

 upon the representations and statements contained in Mr. Karpeles’s declaration, his refusal to


 8
     Docket No. 76.



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 present himself in the United States, as expressly ordered by this Court, demonstrates that the

 provisional stay freezing all litigation against Mt. Gox KK should be terminated.

                                       REQUEST FOR RELIEF

        16.     In light of Karpeles’s decision to violate this Court’s Deposition Order, Movants

 request that Court set the Motion to Terminate Provisional Relief for hearing immediately. The

 relief granted in the Motion for Provisional Relief was awarded substantially upon evidence

 provided in the Karpeles Declaration.

        17.     As Karpeles has now chosen not to make himself available for deposition despite

 this Court’s order to do so, the provisional relief should be terminated immediately since the

 basis for such relief is no longer supportable.

        18.     In short, to obtain the provisional relief, the Debtor was required to present a

 factual basis upon which the Court could conclude that the Debtor had a likelihood of success on

 the merits of the Chapter 15 petition. In the absence of a deposition that would allow Movants to

 test the veracity of the assertions made in the Karpeles Declaration, the parties and the Court are

 left to accept Karpeles’s statements on faith as being true and correct.

        19.     As a consequence for failing to abide by the Court’s Deposition Order, the Court

 should strike the Karpeles Declaration. Furthermore, without the Karpeles Declaration to serve

 as support, the Court should terminate the provisional stay entered at the March 10, 2014

 “emergency” hearing—there is simply no evidence, in the absence of the Karpeles Declaration,

 upon which the Court could conclude that the Debtor enjoys a likelihood of success and that

 provisional relief should continue.




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        20.     Furthermore, that Mr. Karpeles, as the foreign representative, would refuse this

 Court’s order to present himself to actually represent the Debtor weighs against allowing him, as

 the foreign representative, to receive the benefits of provisional relief.

        WHEREFORE, the Movants, Gregory Greene and Joseph Lack, respectfully request that

 the Court set their Motion to Terminate Provisional Relief for hearing immediately and grant

 relief from the provisional stay entered in favor of the Debtor on March, 10, 2014.


 Dated: April 14, 2014                          Respectfully submitted,


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                               CERTIFICATE OF CONFERENCE

          On April 14, 2014, counsel to the Movants contacted counsel to the Debtor regarding the
 relief requested in the Motion. Counsel to the Debtor opposes the relief requested in the Motion.

                                                       By:/s/ Robin E. Phelan
                                                           Robin E. Phelan




                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 14, 2014 a true and correct copy of the
 foregoing document was served (i) upon all parties on the attached Service List via e-mail (if
 available as indicated thereon) or first class mail, and (ii) via e-mail upon the parties that receive
 electronic notice in this case pursuant to the Court’s ECF filing system:


                                                       /s/ Robin E. Phelan
                                                       Robin E. Phelan




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